                                            Case 18-24586-LMI                   Doc 2         Filed 11/23/18                Page 1 of 3


 Fill in this information to identify the case:
 Debtor name National Auto Lenders, Inc.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF                                                                                     Check if this is an
                                                FLORIDA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Bifulco, Phil & Heidi           Phil & Heidi Bifulco Loan                                                                                                            $2,700,000.00
 5829 NW 85th Lane
 Parkland, FL 33067              flattenomatic@aol.
                                 com
                                 954 575-2463
 Tammy J. Burns                  Tammy Burns                     Loan                                                                                                 $1,145,776.10
 Revocable Trust
 8 Cayuga Ln
 Sea Ranch Lakes,                954 784-8070
 FL 33308
 Canopic Holdings,               Gary Richmond                   Loan                                                                                                 $1,116,524.87
 LP
 315 SE 14th Street
 Fort Lauderdale, FL             954 524-2250
 33316
 Frachetti, Patricia             Patricia Frachetti              Loan                                                                                                   $855,147.07
 1511 S. Columbine
 Street                          p_frachetti@hotma
 Denver, CO 80210                il.com
                                 303 480-9644
 Millradt, Paul                  Paul Millradt     Loan                                                                                                                 $820,828.84
 7240 S. Sicily Ct.
 Aurora, CO 80016                paulmillradt@yaho
                                 o.com
                                 303 284-9456
 Rodriguez, Luis D.,             Luis D. Rodriguez
                                         Loan                                                                                                                           $705,000.00
 Asuncion Terol,
 Luis                 luisdrterol@yahoo.
 D. R-Terol, as       com
 Trustees of the Luis
 Asuncion Rodriguez
 Rev. Jt. Trust Agr.
 6666 SW 115th
 Court, Apt. 408
 Miami, FL 33173




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                                            Case 18-24586-LMI                   Doc 2         Filed 11/23/18                Page 2 of 3


 Debtor    National Auto Lenders, Inc.                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Louise Horne                    Louise Horne                    Loan                                                                                                   $700,000.00
 Revocable Living
 Trust                           lou6kids@aol.com
 2066 N. Ocean                   954 931-2362
 Boulevard
 Apt. 10NE
 Boca Raton, FL
 33431
 Kougoucheff, Anne               Guillaume Morin                 Loan                                                                                                   $700,000.00
 & Guillaume Morin,
 as Trustees of the              morigui@att.net
 Anne Kougoucheff                954-993-5168
 Morin Living Trust
 2648 Miller Ct.
 Weston, FL 33332
 Olesiewicz, Thomas              Thomas Olesiewicz Loan                                                                                                                 $667,236.21
 & Sharon, as
 tenants by the                  tom@odcpa.com
 entireties                      954 749-6350
 5250 NW 85th
 Avenue
 Lauderhill, FL 33351
 ETC-FBO Agnes                   Agnes Goodman                   Loan                                                                                                   $658,256.93
 Goodman 169411
 Bene                            goodmanaggie51@
 William Goodman                 gmail.com
 Deed Beneficiary                772 678-5050
 IRA
 P.O. Box 451340
 Westlake, OH 44145
 Guario, Vito and                Vito and Louise                 Loan                                                                                                   $653,002.19
 Louise                          Guario
 14050 Carlton Drive
 Davie, FL 33330                 alleyesoptical@aol.
                                 com
                                 954 474-2671
 Anthony DeAquino                Anthony DeAquino Loan                                                                                                                  $607,917.46
 Revocable Living
 Trust                           tony@odcpa.com
 Dated August 7,                 954 731-5555
 2012
 2101 W. Commercial
 Blvd.
 Suite 4800
 Fort Lauderdale, FL
 33309
 Cook, Angelina                  Angelina Cook                   Loan                                                                                                   $595,192.83
 225 1/2 29th Ave. N.
 Saint Petersburg, FL            mschief@miworld.
 33704                           us
                                 303 884-6277



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                                            Case 18-24586-LMI                   Doc 2         Filed 11/23/18                Page 3 of 3


 Debtor    National Auto Lenders, Inc.                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Shelnutt, Mark &                Linda T. Seek                   Loan                                                                                                   $562,054.40
 Linda T. Seek
 2802 SE 28th Street             lseek@shelnuttpa.
 Ocala, FL 34471                 com
                                 352 867-5514
 Guario, Rosa, as                Rosa Guario                     Loan                                                                                                   $550,000.00
 Trustee of the
 Revocable Living
 Trust                           954 683-9678
 10331 SW 40th
 Street
 Davie, FL 33328
 IRA-STC Cook,                   Angelina Cook                   Loan                                                                                                   $535,083.53
 Angelina 750785
 P.O. Box 7080                   mschief@miworld.
 San Carlos, CA                  us
 94070                           303 884-6277
 Muxo, Jr., Alex &               Bonnie Muxo                     Loan                                                                                                   $500,000.00
 Bonnie Muxo, as
 tenants by the                  bmuxo@aol.com
 entireties                      954 384-4748
 2510 Princeton
 Court
 Weston, FL 33327
 Sandra L. DeAquino              Sandra L.                       Loan                                                                                                   $466,517.44
 Revocable Living                DeAquino
 Trust dated June 16,
 2014                            sandyllk420@aol.c
 4951 NW 110th Way               om
 Coral Springs, FL               954 755-8078
 33076
 IRA-STC-FBO                     Wendy Labonte                   Loan                                                                                                   $460,885.88
 Wendy Labonte
 P.O. Box 7080                   wendylamblabonte
 San Carlos, CA                  @gmail.com
 94070                           561 866-1413
 Brown, Curtis &                 Curtis & Marjorie Loan                                                                                                                 $431,237.50
 Marjorie                        Brown
 6270 Via Palladium
 Boca Raton, FL                  gigibrown16@gmai
 33433                           l.com
                                 561 436-6787




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
